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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

Case No. PEV 04-1367 -VAP

EDCR 02-63(A) VAP

EDWIN ROSS,

Petitioner,
[Petition filed on October
28, 2004]

ORDER GRANTING IN PART AND

Vv.

UNITED STATES OF

 

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AMERICA, DENYING IN PART PETITIONER'S
Respondent,) DOCKETED ON CM
JUL 1 0 2006
I. BACKGROUND BY (075

 

 

Petitioner Edwin Ross ("Petitioner") pled guilty to
one count of conspiracy to possess with intent to
distribute more than 50 grams of a mixture or substance
containing cocaine base, in violation of 18 U.S.C. §§
841(a) (1) and 846 on August 4, 2003. [Transcript of
Proceedings, August 4, 2003, ("Tr.") at 33.] On October
29, 2003, Petitioner was sentenced to 188 months, based
on an offense level 31 and criminal history category VI.
[Government's Opposition to Defendant's Motion Pursuant

to 28 U.S.C. § 2255 ("Opp'n") at 3.]

 
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Petitioner filed a 28 U.S.C. § 2255 Petition ("Pet.")
on October 28, 2004. The Petition cites the following
grounds of error: (1) Petitioner's sentence was enhanced
based on facts neither admitted by Petitioner nor proven
to a jury beyond a reasonable doubt, (2) Petitioner's
Sixth Amendment rights were violated, (3) Petitioner's
Due Process rights were violated, and (4) Petitioner was

denied his right to effective assistance of counsel.

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[Pet. at 5-6.] On November 12, 2004, Petitioner filed a
supplement to his Petition claiming that the Court erred
by (1) not permitting Petitioner to plead to the elements
of the offense, without admitting the allegations about
the drug amount, and (2) failing to use the correct
Standard of proof in attributing a drug quantity and
type. [Motion to Supplement 28 U.S.C. § 2255 ("Supp.")
at 1.]

Respondent filed an Opposition to Petitioner's
Motion Pursuant to 28 U.S.C. § 2255 on December 22, 2004.
Respondent asserts that the Petition is premised on
Blakely v. Washington, 542 U.S. 296 (2004), which does
not apply here because Petitioner's conviction became
final before Blakely was decided, and Blakely is not
retroactive. [Opp'n at 3-9.] Respondent contends that
even if Blakely were to apply, the Court did not err in
sentencing Petitioner because he admitted to the drug

amount during the plea colloquy. ([Id. at 9-12.]

 

 
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Petitioner filed a "Motion in Traverse to

Government's Reply Brief" ("Traverse") on May 19, 2005.

At the Court's direction, Respondent filed a
Supplemental Opposition ("Supp. Opp'n") on February 28,
2006, and Petitioner filed a "Supplemental Brief" ("Supp.
Reply") on March 17, 2006. Petitioner filed another
Supplemental Brief on April 26, 2006.

II. DISCUSSION
A. Enhancement of Sentence Based On a Drug Amount —
Grounds one, two, and three of the Petition and the
two grounds listed in Petitioner's Supplement to the
Petition assert that Petitioner's sentence was enhanced
based on his possession of 290 grams of cocaine base,
which was neither admitted to by Petitioner, nor found

true beyond a reasonable doubt by a jury. [Pet. at 7.]

Respondent argues that Blakely, upon which
Petitioner's argument is based, is not retroactive.
Furthermore, Respondent correctly points out that
Petitioner admitted the drug type and amount in his plea
colloquy. [Opp'n at 3-12.] Below are excerpts from

Petitioner's plea colloquy:

The Court: And furthermore, if the Court accepts

your guilty plea, you will be judged

 

 
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[Tr. at 8:15-18.]

The Court:

The Court:

The Court:

 

[Id. at 18:20-25.

guilty; in other words, there won't be a
trial in your case. Do you understand

that?

The Defendant: Yes.

Do you feel that you understand

everything that's happened here today?

The Defendant: Yes, I do.

Do you feel that you understand the
consequences to you of pleading guilty

to Count 1?

The Defendant: Yes, I do.

]

Mr. Ross, you have the right to have
Count 1 in the Indictment read out loud
to you now. Do you wish to have Count 1

read to you again?

The Defendant: Yes.

 
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The Court:

 

Mr. Missakian:

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[Assistant United States Attorney] Mr.

Missakian.

Count 1 reads as follows (reading):

"Beginning on a date unknown to
the grand jury and continuing
to in or about March 2002, in
Riverside County, within the
Central District of California,
defendants Sedrick Decoud,
Edwin Herbert Ross, Audra
Israel, and Kendra Trice, along
with co-conspirators Cleo Page,
Nathaniel Robert Larry, and
other known and unknown to the
grand jury, conspired and
agreed with each other to

knowingly and intentionally:

"A, possess with [intent] to
distribute, and; B, distribute
more than 50 grams of a mixture
of substance containing a
detectable amount of cocaine
base, in this case, crack, a

Schedule II narcotic drug

 
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controlled substance, in
violation of Title 21 United

States Code Section 841(a}) (1).

"The objects of the conspiracy
were to be accomplished in
substance as follows:

Defendant Decoud would supply
coconspirator Page with cocaine
base, crack, for further
distribution. Defendants
Decoud and Ross, along with co-
conspirator Page, would
manufacture crack from powder
cocaine. Defendant Ross would
manufacture[] and store cocaine
base at his residence located

at

"In furtherance of the
conspiracy and to accomplish
the objects of the conspiracy,
defendants Decoud, Ross,
Israel, and Trice, along with
co-conspirators Page and Larry,
and others known and unknown to

the grand jury, committed

 
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The Court:

The Defendant:

The Court:

 

various acts on or about the
following dates in Riverside
County within the Central
District of California,
including but not limited to

the following:

"On February 8, 2002, during a
telephone conversation using
coded language, defendant Ross
indicated to co-conspirator
Page that he manufactured
approximately nine ounces of
cocaine base in crack form,
left it at his residence
located at . .. to be picked

up by co-conspirator Page.

Mr. Ross, how do you plead to Count i in

the Indictment, guilty or not guilty?
Guilty.
Are you pleading guilty because you did

in fact do what's alleged in Count 1 of

the Indictment?

 
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The Defendant: Your Honor, I have a question. By

The Court:

pleading guilty to Count 1, which is
the 846 count of conspiracy, I would
like to know is there - will there
still be a hearing to establish a
factual basis in determining the
drug amount in this case on - in

establishing a base offense level?

Well, what I'm about to do is to ask Mr.
Missakian to make what we [call] an
"offer of proof." And that is to state
for the record what the government
believes it would be able to prove

against you if your case went to trial.

And then I'll ask you whether or not you
agree with what he just said about what

you did in this case.

If you don't agree with what he says,
you will be able to tell me what you
disagree with or object to. If you do
agree with what he says, then that will

be the factual basis.

The Defendant: Okay.

 

 
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The Court: Now, Mr. Missakian, does your proposed
factual basis include an amount? My
recollection of the plea agreement is
that it does.

Mr. Missakian: It does, Your Honor.

The Court: Do you understand, Mr. Ross?

The Defendant: Yes, I do.

The Court: So by pleading guilty, you are agreeing

to the base amount.

The Defendant: Your Honor, the reason I asked the
question was because there was no
amount. There was just a telephone
call. That was it. As he indicated
in the plea agreement, as they
stated, it was a coded conversation
telephone call. So there is no
drugs evidence, period, to establish
a factual basis as far as drug

amount.

I'm not contesting the guilty plea

as far as Count 1 of the conspiracy,

 

 
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The Court:

Mr. Philips:

The Court:

 

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I'm only asking the question based
on the factual findings of the nine

ounces.

Mr. Philips, do you want to take a
moment and discuss this with your

client.

I've taken, many, many, many, many,
many moments to discuss this with my
client. Your Honor, this is the end
result of all those discussions, and
I don't know if I can contribute any
more to those discussions by having

a private talk with my client.

Well, I suppose all we can do at this
point is this - I'm going to ask Mr.
Missakian to state the proposed factual
basis, and I'm going to ask you whether

you agree with it.

And if you don't, you can tell me you
don't. Or you can tell me what you
disagree with. And if your disagreement
means that you are not agreeing to all

the elements necessary to prove up the

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Mr. Missakian:

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charge in this case, then I can't take

your guilty plea.
Mr. Missakian.
If this case were to go to trial,

the government would expect to prove

the following (reading) :

"Beginning on a date unknown
and continuing to in or about
March 2002, defendant and
codefendant Sedrick Decoud,
Audrea Israel, and Kendra
Trice, agreed with each other
and with co-conspirators Cleo
Page to manufacture and
distribute cocaine base in the
crack form in the Riverside

County area.

"Defendant and codefendants
manufactured, distributed, and
sold the cocaine base in the

crack form.

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"On February 8, 2002, during
the recorded telephone
conversation using coded
language, defendant spoke to
co-conspirator Page and
indicated to him that he had
manufactured approximately nine
ounces of cocaine base in crack

form.

"Defendant further indicated
that he had left the
approximately nine ounces of
cocaine base at his residence
located at . . . to be picked
up by codefendant Page.

"On March 1, 1992, (sic) when
the search warrant was executed
at defendant's residence, law
enforcement discovered, among
other things, a glass Pyrex
containing cocaine base in
crack form, a residue of that;
and a baggie of powdered
cocaine, both of which belonged

to defendant and were used in

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furtherance of the
manufacturing and distribution
of cocaine base in the crack
form.
"Defendant agrees that he is
responsible for conspiring to
possess with intent to
distribute and to distribute
approximately 290 grams of
cocaine base, again in crack
form."

Mr. Philips: Your Honor, if I can take one moment
‘with Mr. Ross.

The Court: The attorney for the government, I
think, wishes to correct one thing he
just stated regarding the date.

Mr. Missakian: Yes. There's a typo in the second
to last paragraph. I referred to
the search warrant being executed on
March ist 1992, which should be, in
fact, March lst, 2002.

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The Court: Thank You. With that correction, Mr.
Ross, do you agree with what the
attorney for the government just stated
that you did in this case?

The Defendant: Yes.

The Court:

[Id. at 19:7-27:12.]

All right. At this point, then, do you
specifically give up your right to plead
not guilty and to persist in a plea of
not guilty; your right to a speedy and
public trial by jury; your right to see
and hear the evidence; and your right to
cross-examine witnesses who would
testify against you; your right against
self-incrimination; your right to use

the court's subpoena process.

And if you are convicted after a trial,
your right to appeal your conviction and
sentence.

Do you give up these rights at this

time?

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The Defendant: Yes.

[Id, at 28:12-21.]

While Petitioner expressed concern about pleading to
the drug amount, it is evident from the transcript that
he agreed to the factual basis provided by Respondent.
The offer of proof specifically stated that "Defendant
agrees that he is responsible for conspiring to possess
with intent to distribute and to distribute approximately
290 grams of cocaine base, again in crack form." [Id. at
26:20-24.] When asked if he agreed with the Government's

offer of proof, Petitioner unequivocally said "yes."

Petitioner's earlier resistance to admitting the drug
amount is immaterial. The Court thoroughly explained to
Petitioner, after hearing his initial question, that if
he disagreed with any part of the factual basis, he could
explain his disagreements to the Court. Petitioner
stated no disagreement with the factual basis to the
Court, and in fact admitted to the drug amount and type
in his plea colloquy.

Petitioner's statements on the record and under oath

 

"Carry a strong presumption of verity." United States v.
Grewal, 825 F.2d 220, 223 (9th Cir. 1987). Moreover, a

court may credit defendant's testimony at the plea

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colloquy over a later contrary affidavit. United States
v. Castello, 724 F.2d 813, 815 (9th Cir. 1984).
Accordingly, the Court credits Petitioner's testimony

during the plea colloquy.

Moreover, even if Petitioner had not admitted to the
drug amount, the Court could have used the drug amount
and type to determine Petitioner's sentence under the
mandatory guidelines because Blakely and United States v.
Booker, 543 U.S. 220 (2005), had yet to be decided.
Petitioner's conviction became final on November 10,
2003, well before Booker and Blakely were decided in 2005
and 2004, respectively.

The Ninth Circuit has held that Blakely does not
apply retroactively to cases on collateral review.* See
Schardt_ v. Payne, 414 F.3d 1025, 1032-36 (9th Cir. 2005)
(holding that "Blakely did not announce a watershed rule
of criminal procedure" and thus could not be applied
retroactively). As for the retroactive application of

Booker, the Booker Court indicated that its "holdings -

 

both the Sixth Amendment holding and [the] remedial
interpretation of the Sentencing Act - must be applied to

all cases on direct review." 543 U.S. at 268 (emphasis

 

* The Supreme Court, however, has recently granted a

writ of certiorari in Burton v. Waddington, -- U.S. --
126 §.Ct. 2352 (2006), which concerns the retroactivity

of Blakely.

 

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added). The Ninth Circuit has explicitly stated,
however, that Booker does not apply retroactively for
cases on collateral review. United State v. Cruz, 423
F.3d 1119, 1121 (9th Cir. 2005) (concluding that "Booker
is not retroactive, and does not apply to cases on
collateral review where the conviction was final as of
the date of Booker's publication."). Every circuit that
has considered this issue has concluded that Booker does
not apply retroactively. See, e.g., Lloyd v. United
States, 407 F.3d 608, 610 (3d Cir. 2005); Guzman v.
United States, 404 F.3d 139, 141 (2d Cir. 2005);
Humphress v. United States, 398 F.3d 855, 860 (6th Cir.
2005); McReynolds v. United States, 397 F.3d 479, 481
(7th Cir. 2005); United States v. Price, 400 F.3d 844,
845 (10th Cir. 2005); Varela v. United States, 400 F.3d
864, 868 (11th Cir. 2005) (per curiam).

With respect to Defendant's Apprendi v. New Jersey,
530 U.S. 466, 490 (2000), claim:

Apprendi requires the government to prove beyond a
reasonable doubt any fact, other than a prior
conviction, that exposes the defendant to a greater
punishment than that authorized by the quilty verdict
or plea. Where a defendant claims the district court
violated Apprendi, we first determine the statutory

maximum punishment authorized by the guilty [] plea .

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In the case of a guilty plea, the defendant
admits guilt beyond a reasonable doubt and it is
necessary to examine the substance of the plea to
determine the facts to which the defendant has

admitted .

The next step in assessing a claim of Apprendi error
is to determine whether the court made any findings that
exposed the defendant to a greater statutory maximum
punishment than that authorized by the plea. United
States v. Banuelos, 322 F.3d 700, 704-05 (9th Cir. 2003)
(citations omitted). Where a defendant's sentence does
not exceed the statutory maximum authorized by his guilty
plea, Apprendi is not implicated. See, e.g., United
States v. Saya, 247 F.3d 929, 942 (9th Cir. 2001); United
States v. Hernandez-Guardado, 228 F.3d 1017, 1026-27 (9th
Cir. 2000).

Here, Petitioner pled guilty to a violation of 21
U.S.C. §§ 841(a) (1) and 846. [Tr. at 33:12-13.] The
statutory maximum for this offense is life. See §

841 (b) (1) (a) (111). Defendant was sentenced to 188 months
incarceration, [Judgment and Commitment Order,
October 29, 2003, at 1], a sentence less than the

maximum. Accordingly, there was no Apprendi violation.
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B. Ineffective Assistance of Counsel

Petitioner argues that his lawyer was ineffective
because he failed to file an appeal when directed to by
Petitioner. [Pet. at 7.] Petitioner contends that the
Supreme Court has found that it is professionally
unreasonable for a lawyer to disregard a client's request
to file a direct appeal. [Traverse at 2 (citing
Rodriquez v. United States, 395 U.S. 327 (1969)).]
Petitioner contends that his lawyer's failure to file a

notice of appeal violated his right to appeal. ([Id.]

Respondent contends that Petitioner's conclusory
statements that his attorney failed to file a notice of
appeal after being requested to do so is insufficient to
meet Petitioner's burden. [Supp. Opp'n at 4.]
Respondent argues that Petitioner does not state the
"who, what, and where of [the] alleged request." [id.]
Respondent also attaches a declaration of David Philips
stating he does not specifically remember Petitioner
directing him to file a notice of appeal and that based
on his customary practices, it is unlikely that he did.
[Id. at 4-5.]

In Rodriquez v. United States, 395 U.S. 327 (1969),
the Supreme Court held that when a defense attorney fails

to file a notice of appeal, the defendant need not

establish that his or her appeal has merit to seek

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relief. Id. at 330. This precedent, however, was
established before the seminal ineffective assistance of
counsel case, Strickland v. Washington, 466 U.S. 668
(1984). |

In Strickland, the Court established the elements of
an ineffective assistance of counsel claim: A petitioner
must prove that (1) his "counsel's representation fell
below an objective standard of reasonableness,"
("deficient performance") and (2) there is a reasonable
probability that, but for his counsel's errors, the
result of the proceeding would have been different
("prejudice"). See Strickland, 466 U.S. at 688, 694. "A
reasonable probability is a probability sufficient to

undermine confidence in the outcome." Id. at 694.

The decision in Strickland, however, has not
disturbed the long standing precedent set forth in
Rodriquez; courts have woven the principles announced in
Rodriquez into the Strickland test. See, e.g., Roe v.
Flores-Ortega, 528 U.S. 470, 477 (2000).

As to the deficient performance factor, the Court in
Flores-Ortega held that the failure to file a notice of
appeal after being requested to do so always satisfies

the deficient performance element of the Stickland test.

Id.

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We have long held that a lawyer who disregards
specific instructions from the defendant to file
a notice of appeal acts in a manner that is
professionally unreasonable. ... This is so
because a defendant who instructs counsel to
initiate an appeal reasonably relies upon
counsel to file the necessary notice. Counsel's
failure to do so cannot be considered a
strategic decision; filing a notice of appeal is
a purely ministerial task, and the failure to
file reflects inattention to the defendant's

wishes.

Id. (citations omitted).

Additionally, the Ninth Circuit has found that the

prejudice prong of the Strickland test is presumed by a

defendant's attorney's failure to file a notice of

appeal; thus, a petitioner need not establish that he or

she was prejudiced by his or her attorney's failure to

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file an appeal.* Canales v. Roe, 151 F.3d 1226, 1229
(9th Cir. 1998).

Strickland and Rodriguez together dictate that
at the federal level a defendant is relieved of
the obligation to specify the issues to be
raised on appeal where counsel's failure to file
a notice of appeal deprives the defendant of his
right to appeal. In that sense, although
Rodriquez does not say it in so many words, the
defendant is not required to prove

that he was prejudiced by counsel's inadequate

performance.
Id. at 1229.

Here, Petitioner contends that he instructed his
attorney, David Philips, to file a notice of appeal.
[Pet. at 7.] That Petitioner lacks a declaration
specifically describing the "who, what, and where of

[the] alleged request" is not fatal to his claim.

 

* The court also noted that every other federal
appellate court to address the issue has found some sort
of presumed prejudice. Canales, 151 F.3d at 1230 (citing
Morales v. United States, 143 F.3d 94, 96-97 (2d Cir.
1998); Castellanos v. United States, 26 F.3d 717, 718-19
(7th Cir. 1994); United States v. Peak, 992 F.2d 39,
41-42 (4th Cir. 1993); Bonneau v. United States, 961 F.2d
17, 18, 22 (1st Cir. 1992); United States v. Davis, 929
F.2d 554, 557 (10th Cir. 1991); Estes v. United States,
883 F.2d 645, 648-49 (8th Cir. 1989)).

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Petitioner states in his Petition that his attorney
failed to file a notice of appeal after being requested
to do so. [Id.] This is sufficient evidence that
Petitioner is entitled to relief. Thus, Petitioner's
Petition cannot be said to be "palpably incredible,” or
“patently frivolous or false." Blackledge v. Allison,
431 U.S. 63, 76 (1977).

Moreover, Respondent has presented no evidence in
rebuttal to Petitioner's allegations; the declaration of
David Philips is not sufficient. [Declaration of David
Philips at 4§ 2-3.] Mr. Philips's declaration simply
States that he does not remember whether or not
Petitioner asked him to file a notice of appeal and then
states that it is his normal practice to file an appeal
if requested to do so. [Id.] These facts do not

contradict Petitioner's representations.

Section 2255 of Title 28 states that "[u]nless the
motion and the files and records of the case conclusively
show that the prisoner is entitled to no relief, the
court shall cause notice thereof to be served upon the
United States attorney, grant a prompt hearing thereon,
determine the issues and make findings of fact and
conclusions of law with respect thereto." "Evidentiary
hearings are particularly appropriate when claims raise

facts which occurred out of the courtroom and off the

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record." United States v. Chacon-Palomares, 208 F.3d
1157, 1159 (9th Cir. 2000). A court may only deny a §
2255 petition without an evidentiary hearing if
petitioner's allegations "either do not state a claim for
relief or are so palpably incredible or patently
frivolous as to warrant summary dismissal." United

States v. Burrows, 872 F.2d 915, 917 (9th Cir. 1989).

While the Court could order an evidentiary hearing on
this issue, it appears that such a hearing would be
futile. The evidence presented at the hearing would be
identical to the evidence submitted with this Petition:
Petitioner will testify that he requested his attorney,
Mr. Philips, to file a notice of appeal and that one was
not filed; Mr. Philips will testify that he does not
remember whether he was requested to file a notice of
appeal by Petitioner, but ;that it is his normal practice
to do so if requested. Mr. Philips's lack of recall does
not suffice to create a genuine issue of fact that would

have to be determined at an evidentiary hearing.

Accordingly, Petitioner has established that he
requested Mr. Philips to file a notice of appeal and that
no notice of appeal was filed. Under the Rodriquez
precedent, as interpreted in the post-Strickland context
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by Flores-Ortega and Canales, this is a sufficient

showing to entitle Petitioner to relief.’

Moreover, Respondent's assertions that Petitioner has
not satisfied the heavy burden normally associated with
an ineffective assistance of counsel claim are misplaced.
As discussed above, since Petitioner has established that
he did in fact request his attorney to file a notice of
appeal, the Strickland elements are satisfied.

Respondent is attempting to apply the heightened
standards associated with the Stickland test to the
evidentiary standard for factual allegations.
Petitioner, however, as he has done here, need only
establish that he requested his attorney to file a

notice of appeal by a preponderance of the evidence.

 

Silva v. Woodford, 279 F.3d 825, 835 (9th Cir. 2002)

Accordingly, the Court finds that, by a preponderance
of the evidence, Petitioner's attorney did in fact

neglect to file a notice of appeal after being directed

 

3 It ig immaterial that in Petitioner's plea

agreement Petitioner forfeited his appeal rights to a
Significant extent because Petitioner need not show that
he was prejudiced by his attorney's deficient
performance. Nevertheless, the Court notes that under
the plea agreement, he may only appeal his sentence if it
exceeds the statutory maximum or if the Court departed
upward under the sentencing guidelines. [Tr. at 1:14-
24.] Since the Court did not exceed the statutory
maximum or depart upward, Petitioner likely has no right
to appeal.

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to do so, entitling Petitioner to relief. Petitioner's
sentence is hereby vacated and reentered, thus
reinstating the 10-day deadline under Federal Rule of
Appellate Procedure 4(b) for Petitioner to file a notice
of appeal. See Rodriguez, 395 U.S. at 332, United States
v. Torres-Otero, 232 F.3d 24, 32 (1st Cir. 2000) ("the

 

district court is not required to engage in de novo

resentencing, but may instead vacate the initial sentence

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and summarily reimpose a sentencing judgment identical in

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all respects to the earlier judgment except for the date

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of entry."); United States v. Phillips, 225 F.3d 1198,

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1201 (lith Cir. 2000); United States v. Prado, 204 F.3d

 

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843, 845 (8th Cir. 2000). Petitioner thus has until July

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20, 2006, to file his notice of appeal. The Court hereby

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appoints Darlene M. Ricker for the sole purpose of

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preparing and filing Petitioner's Notice of Appeal. If

Petitioner makes a request within this period, the clerk

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of the court will file a notice of appeal on Petitioner's

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behalf pursuant to Federal Rule of Criminal Procedure

32 (3) (2).

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III. CONCLUSION

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For the foregoing reasons, the Court denies

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Petitioner's Petition to the extent that it alleges that

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the Court erred in sentencing him based upon the drug

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amount and type. The Petition is granted, however, to

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the extent that it alleges Petitioner's attorney.was

 

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ineffective when he failed to file a notice of appeal

after being requested to do so.

Dated: Sut Ad, LO 0' Vion eS Nob,
fo! ] VIRGINIA A. PHILLIPS
United States District Judge

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Beck, Michael J (Clerk, MDL Panel)

US Attorneys Office - Civil Division - 8.A.

 

 

 

BOP (Bureau of Prisons)

US Attorneys Office - Criminal Division -L.A.

 

 

CA St Pub Defender (Calif. State PD)

US Attorneys Office - Criminal Division -S.A.

 

 

 

CAAG (California Attorney General’s Office - Keith
Borjon, L.A. Death Penalty Coordinator}

US Bankruptcy Court

 

 

Case Asgmt Admin (Case Assignment
Administrator}

US Marshal Service - Los Angeles (USMLA)

 

US Marshal Service - Riverside (USMED)

 

 

Catterson, Cathy (9 Circuit Court of Appeal)

US Marshal Service - Santa Ana (USMSA)

 

 

Chief Deputy Admin

US Probation Office (USPQ)

 

 

Chief Deputy Ops

US Trustee’s Office

 

 

 

Clerk of Court

 

 

 

Warden, San Quentin State Prison, CA

 

 

 

Death Penalty H/ C (Law Clerks)

 

Dep In Chg E Div

 

 

 

Dep In Chg So Div

 

Federal Public Defender

 

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Fiscal Section

Name: Darlene M. Ricker

 

 

Intake Section, Criminal LA

Firm:

 

Address: (include suite or floor):

 

 

Intake Section, Criminal SA

 

Intake Supervisor, Civil

P.O. Box 2285, Malibu. CA 90265

 

 

Interpreter Section

*E-mail: _dmricker@aol.com

 

 

 

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Schnack, Randall (CJA Supervising Attomey}

 

 

*Fax No. 310-457-8602

*For Civil cases only

 

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